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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

 WRESTLEREUNION, LLC,

                  Plaintiff,
         vs.                                                   CASE NO. 8:07-CV-2093-T-27-MSS

 LIVE NATION TELEVISION HOLDINGS, INC.,

                  Defendant.
                                                               /

       DEFENDANT’S MOTION IN LIMINE TO PRECLUDE REFERENCES TO ERIC
     BISCHOFF’S PERSONAL LIFE AND INCORPORATED MEMORANDUM OF LAW

         Defendant (“Live Nation” or “Defendant”) hereby respectfully moves this Court for an

 Order in limine excluding Plaintiff from referencing, including through testimony or argument,

 Eric Bischoff’s personal life, consumption of alcohol, and any related issues. Such testimony or

 argument is unrelated to any matter, claim, or defense in this case, highly prejudicial,

 inflammatory, irrelevant and inadmissible. In support, Live Nation states:

         Mr. Bischoff has been disclosed by Live Nation as an expert in this matter. Mr. Bischoff

 will opine as to the issues, generally summarized, as to whether Live Nation used reasonable

 efforts in marketing the video productions from Plaintiff’s events, and the value, if any, of such

 video productions. Based on Plaintiff’s “Motion in Limine” (Dkt. 100), Plaintiff apparently

 intends not only to elicit testimony from Mr. Bischoff regarding his consumption of alcohol on at

 least one occasion eight years ago, to damage his credibility, but also to impeach him with

 similar testimony elicited in a prior criminal case in which Mr. Bischoff was a nonparty witness.1

 Plaintiff’s attempts to smear a nonparty witness based on unrelated conduct from nine years ago

 is desperate and shameless. Evidence is “relevant” if it has a “tendency to make the existence of

 1
  See Dkt. 100, at 6-8. Plaintiff’s counsel fails to mention that Mr. Bischoff’s deposition was terminated before Mr.
 Bischoff could answer any questions regarding the prior testimony and incident because Plaintiff’s counsel flung a
 copy of this testimony across the table at Mr. Bischoff, hitting him on the hands, after six and a half hours of
 deposition testimony. Plaintiff did not challenge the termination nor seek to reconvene the deposition.
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 any fact that is of consequence to the determination of the action more probable or less probable

 than it would be without the evidence.” Fed. R. Evid. 401. Irrelevant evidence is not admissible.

 Fed. R. Evid. 402.     Further, under Federal Rule of Evidence 403, the Court may exclude

 evidence when its probative value is substantially outweighed by its prejudicial effect.

 Credibility of witnesses, of course, lies within the province of the trier of fact, see e.g., Hamer v.

 Atlanta, 872 F.2d 1521, 1532 (11th Cir. 1989), and the Fed. R. Evid. provide methods of

 impeachment, see Fed. R. Evid. 608, 609, and 613. However, evidence remains admissible only

 if there is any logical tendency of the evidence to make a witness’ trial testimony less credible

 than it would be absent its introduction, provided its probative value is not substantially

 outweighed by the danger of unfair prejudice under Rule 403. Staab v. Uniroyal Tire Co., Inc.,

 1994 WL 230634, *3 (W.D. Mo. 1994)(excluding in limine evidence of prior alcohol and drug

 use as irrelevant to product liability case); Alexander v. CIT Tech. Financing Svcs., Inc., 217

 F.Supp. 867, 882 (N.D. Ill. 2002)(“[witness’] alleged use of alcohol or narcotics is irrelevant

 because this evidence does not have any tendency to make it more or less probable that [plaintiff]

 was subjected to harassment, discrimination, or retaliation [and] would constitute improper

 character evidence”). Here, any testimony or argument referencing Mr. Bischoff’s alleged prior

 consumption of alcohol or personal sexual affairs years ago is not only irrelevant but also unduly

 prejudicial and inflammatory. Mr. Bischoff is not a party to this case, nor even a fact witness.

 His only role is in rebutting the uninformed opinion of Plaintiff’s expert, Mr. Bowman. Mr.

 Bischoff was the head of, at the time, the most successful “pro wrestling” organization in the

 world, and is currently a successful producer of several television shows and other entertainment

 ventures. Plaintiff is clearly desperate to do anything to impugn the character of Mr. Bischoff,

 because the disparity in the experience and expertise between Mr. Bischoff and plaintiff’s expert,

 Mr. Bowman, is so vast. Plaintiff is simply attempting to distract and divert attention from the

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 relevant facts and issues -- Live Nation’s marketing efforts and the true market value of the

 footage at issue (or lack thereof) -- by raising inflammatory and prejudicial personal attacks

 based on prior conduct from years ago wholly unrelated to the claims in this case.             Mr.

 Bischoff’s consumption of alcohol or personal life have no bearing whatsoever on or relation to

 the issues to be determined in this case. Such information can in no way tend to make the

 existence of any fact that is of consequence to the determination of Plaintiff’s breach of contract

 claim more or less probable than it would be without same. Rather, such testimony or argument

 will inevitably only serve to prejudice Live Nation. Accordingly, even if such testimony could

 have any probative value, which is cannot, such value is substantially outweighed by the

 prejudicial effect of same.

        The undersigned certifies that he and co-counsel, Dawn Giebler-Millner, conferred in

 good faith with Plaintiff’s counsel, who indicated he did not intend to make any reference at trial

 to the 2001 incident, but was otherwise unable to agree upon the relief sought herein.

                                             Conclusion

        Wherefore, Live Nation respectfully requests an Order, in limine, precluding any

 reference through testimony or argument, to any aspect of Mr. Bischoff’s alcohol consumption,

 personal life, or the 2001 incident referred to in Plaintiff’s Motion in Limine.

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 21st day of August, 2009, I electronically filed the foregoing
 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
 filing to the following: Ryan Christopher Rodems, Esq., rodems@barkerrodemsandcook.com.

                                               s/Gregory W. Herbert
                                               Gregory W. Herbert
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